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                         UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

JANICE MCCALL,                                  §
                                                §
        Plaintiff,                              §
                                                §      Civil Action No. 3:08-cv-02000-M
v.                                              §
                                                §
SOUTHWEST AIRLINES CO., and                     §
SOUTHWEST AIRLINES PILOTS                       §
ASSOCIATION,                                    §
                                                §
        Defendants.                             §

                                             APPENDIX

     SWA App.        Document Description
     No.
     1               1/21/08 Termination Letter
     2 – 33          Plaintiff’s First Requests for Production
     34 – 62         ASAP – Memorandum of Understanding
     63 – 64         Declaration of Jeff Hamlett




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